     Case 1-22-43064-ess             Doc 39-1       Filed 10/13/23   Entered 10/13/23 10:52:32




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                           Case No. 1-22-43064-ESS
                                                                 Chapter 11

         Fraleg Jefferson Corp.

                                  Debtor.
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                 AMENDED ORDER FOR RELIEF FROM THE AUTOMATIC STAY

                 MOTION HAVING BEEN MADE to this Court by IRP FUND II TRUST 2A,

by its servicer BSI FINANCIAL SERVICES (“Movant”), by Notice of Motion dated February 16,

2023, for an Order: (i) modifying and terminating the automatic stay in place pursuant to § 362(a)

of the Title 11 of the United States Code, to permit Movant to exercise all of its rights and remedies

with respect to certain collateral known as 15 Jefferson Avenue, Brooklyn, NY 11238 by virtue

of § 362(d)(1) and 11 U.S.C. § 362(d)(2) of the Bankruptcy Code; (ii) granting Movant the attorney

fees and costs of this motion; and (iiii) granting Movant such other further and different relief as

may seem just, proper and equitable; and due notice of said motion having been given to the

Debtor, Debtor's attorney, US Trustee, and the Trustee; and after due deliberation having been

had; it is hereby

                 ORDERED, that the Automatic Stay, as to Movant, its agents, assigns or

successors in interest, is hereby modified so that Movant, its agents, assigns or successors in

interest, may pursue its rights under applicable law with respect to the Property; and it is further
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              ORDERED, that, pursuant to Bankruptcy Rule 4001(a)(3), this Order shall go

into effect 30 days from the date it is entered, on July 21, 2023..
